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                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


   In re:                                                         Case No: 09-27136/RTL

   Leonard R. Nieves, Sr. and Mary J. Nieves                      Chapter: 7
                 Debtor
                                                                  Judge: Raymond T. Lyons
   ______________________________________

                                           AMENDMENT TO SCHEDULE B

   Please specify the Schedule(s) to be amended:

            XX       Schedule B        -        Personal Property

              _________________________________________________________________

   The schedule or list indicated above, having been previously filed, is amended as follows:
   (List creditors being added or deleted and indicate same; please use separate sheet if necessary)

   25. Automobiles, trucks, trailers and other
       vehicles and accessories

   2006 Infiniti G35                                                       $12,200
   2001 BMW 530i                                                           $6,100
   2006 Honda motorcycle                                                   $3,100
   2006 Honda motorcycle                                                   $4,300
   2004 Infinity G35                                                       $8,700


   I hereby certify under penalty that the above information is correct.


   Dated: 9/28/09                                        Debtor’s signature:_/s/ Leonard R. Nieves
                                                                               Leonard R. Nieves

   Submit original and $26.00 fee

   If new creditors are being added as the result of this amendment, you must attach a matrix containing only those new
   creditors being added.
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


   In re:                                                 Case No: 09-27136/RTL

   Leonard R. Nieves, Sr. and Mary J. Nieves              Chapter: 7
                 Debtor
                                                          Judge: Raymond T. Lyons
   ______________________________________




                                      AMENDMENT TO SCHEDULE C

   Please specify the Schedule(s) to be amended:

            XX    Schedule C      -        Property Claimed as Exempt

             _________________________________________________________________

   The schedule or list indicated above, having been previously filed, is amended as follows:
   (List creditors being added or deleted and indicate same; please use separate sheet if necessary)

   2006 Infiniti G35              11 U.S.C. §522(d)(2)            $6,450
                                  11 U.S.C. §522(d)(5)            $6,750
   2001 BMW 530i                  11 U.S.C. §522(d)(5)            $100
   2006 Honda motorcycle          11 U.S.C. §522(d)(5)            $3,100
   2006 Honda motorcycle          11 U.S.C. §522(d)(5)            $100
   2004 Infinity G35              11 U.S.C. §522(d)(2)            $3,200


   I hereby certify under penalty that the above information is correct.


   Dated: 9/28/09                                  Debtor’s signature:___/s/ Leonard E. Nieves
                                                                         Leonard R. Nieves
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY




   In the Matter of                                           Chapter 7

   Leonard R. Nieves, Sr. & Mary J. Nieves
                                                              Case No. 09-27136/RTL
               Debtor
   _____________________________________


                              VERIFIED STATEMENT TO CHANGES



           I, Leonard R. Nieves, Sr., the debtor in the above-captioned matter, hereby verify that the
   attached Amended Schedules B and C are true and correct to be added to the Chapter 7 petition
   filed by said debtor.



                                                       _____/s/ Leonard E. Nieves
                                                             Leonard R. Nieves
